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                        IN THE UNITED STATES DISTRICT COUm'
                       FOR THE NORTHERN DISTRICT OF GEORGfA                      |0V I 2 lOH
                                 ATLANTA DIVISION        f-.-

DYSON ONNIE McCRAY,
        Movant                                      CRIMINAL ACTION FILE NO.
                                                    1:11-CR-4 55-2-ODE-JSA
V.
                                                    CIVIL ACTION FILE NO.
UNITED STATES OF AMERICA,                           1:16-CV-28 7-ODE-JSA
        Respondent

                                              ORDER
        T h i s c r i m i n a l case i s b e f o r e t h e Court on t h e F i n a l Report and
Recommendation o f U n i t e d         States     Magistrate       Judge J u s t i n S. Anand
f i l e d September 20, 2016 ("R&R") [Doc. 232] . No o b j e c t i o n s have been
filed.
        I n t h e R&R, Judge Anand recommends               t h a t Movant's § 2255 m o t i o n
be denied and t h a t a c e r t i f i c a t e o f a p p e a l a b i l i t y ("COA") be denied
also.     A f t e r a thorough a n a l y s i s . Judge Anand found: Movant's amended
c l a i m s and f i r s t r e p l y c l a i m are u n t i m e l y , h i s sentence c l a i m i s n o t
encompassed w i t h i n t h e Johnson-*- d e c i s i o n and thus a l s o i s u n t i m e l y ,
his     first    ground      for relief       i s procedurally         defaulted,       and t h e
remainder o f h i s claims            are without        merit.        He also      found     that
reasonable j u r i s t s would n o t f i n d h i s d e t e r m i n a t i o n s   "debatable o r
wrong" and a c c o r d i n g l y a COA should be denied.
        The Court having          read    and considered         t h e R&R and n o t i n g t h e
absence o f any o b j e c t i o n s , i t i s hereby ADOPTED as t h e o p i n i o n and
o r d e r o f t h e Court.     For t h e reasons s e t f o r t h i n t h e R&R, Movant's
§ 2255 m o t i o n [Doc. 217] i s DENIED and a COA i s a l s o DENIED.


     ^Johnson v. U n i t e d          States,             U.S.         , 135 S. Ct. 2551
(June 26, 2015).
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    so ORDERED, t h i s   ^ }   day o f November, 2016.



                            ORINDA D. EVANS
                            UNITED STATES DISTRICT JUDGE




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